
Jackson, February 23, 1833. This day came the saidEbe-nezer Kilpatrick, by his attorney, and moved the court to correct an error made in rendering the judgment herein ata former term of this court, but because the court are not advised thereon time is taken to consider of the same until the next term of court.
Jackson, May 13, 1834. Hezekiah Farris, Valentine D. Barry and Edmund D. Tarver, plaintiffs, vs. Ebenezer Kil-patrick, defendant. This day came the said defendant, by his attorney, and the court having had under advisement since the last term the motion herein then made by the defendant to correct a mistake of the clerk of this court in entering the judgment of the court at May term, 1832, between the said parties, affirming the judgment below in all *380things: for that it seems manifest to the court, from the inspection of the record, that the clerk of this court by mistake omitted to include in the judgment oí this court the sum of forty-eight dollars, being the damages given in the circuit court upon the affirmance of the judgment of the county court. It is therefore considered by the court that the said judgment be corrected, and that the said Ebenezer Kilpatrick recover of the said Hezekiah Farris, Valentine D. Barry and Edmund D. Tarver, in addition to the former recovery in this cause, the sum of forty-eight dollars; also the sum of one dollar and six cents, being interest thereon at the rate of twelve and one-half per centum per annum from the day of the rendition of judgment in the circuit court to the day of the rendition of the judgment in this court, together with the further sum of two dollars, being interest at the rate of six per centum per annum from the day of the rendition of the judgment in this court up to the present time; making in the whole the sum of fifty-four dollars and ten cents. It is also considered by the court that the said plaintiff recover pf the said defendant their costs herein expended, &amp;c,
